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   7

   8
                             UNITED STATES DISTRICT COURT
   9
                            CENTRAL DISTRICT OF CALIFORNIA
  10
     TAI HANG and ROBERT CANALES,                CASE NO. 5:21-cv-00287-JWH-KK
  11 on behalf of themselves and all others
     similarly situated,                         DEFENDANT’S RESPONSE TO
  12                                             ORDER REGARDING
                   Plaintiffs,                   SUPPLEMENTAL BRIEFING [Dkt.
  13                                             #31]
             vs.
  14

  15 OLD DOMINION FREIGHT LINE,
       INC., a Virginia corporation; and DOES
  16 1 to 100, inclusive,

  17               Defendants.
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            DEFENDANT’S RESPONSE TO ORDER REGARDING SUPPLEMENTAL BRIEFING [Dkt. #31]
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   1         In response to the Court’s Order Regarding Supplemental Briefing [Dkt. #31]
   2 (the “Order”), and after meeting and conferring with Plaintiffs Tai Hang and Robert

   3 Canales (collectively, “Plaintiffs”) as required by the Court’s Order, Defendant Old

   4 Dominion Freight Line, Inc. (“ODFL”) hereby submits the following supplement to

   5 its Motion to Dismiss and/or Strike Portions of Plaintiff’s Third Amended Complaint

   6 Pursuant to Fed. R. Civ. P. 12(b)(6) and/or 12(f) (the “Motion”) [Dkt. #20]:

   7         In light of the recent decision of the California Supreme Court in Naranjo v.
   8 Spectrum Security Services, Inc., 13 Cal.5th 93, 2022 WL 1613499 (May 23, 2022),

   9 ODFL hereby withdraws the following arguments made in the Motion, and the

  10 corresponding arguments made in ODFL’s Reply [Dkt. #24] filed in support of the

  11 Motion, by page and line number(s):

  12                     Page, Line Numbers in         Section Number in
                          Memorandum ISO               Memorandum ISO
  13                            Motion                       Motion
                               [Dkt. #20]                  [Dkt. #20]
  14
                        9:7-10:25                     III.C.1
  15
                        10:26-12:4                    III.C.2
  16
                        13:7-16:6                     III.C.4
  17
                        16:7-17:12                    III.C.5
  18
                        19:16-20:17                   III.D.2
  19

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                        21:26, 22:20-23:5             Portions of III.F.2

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             Additionally, ODFL hereby withdraws the Request for Judicial Notice filed in
  22
       support of its Motion. Dkt. #20 at xiii-xiv.
  23
       Dated: June 17, 2022                 BAKER & HOSTETLER LLP
  24

  25                                        By:    /s/ Matthew C. Kane
  26
                                                  Matthew C. Kane | Sylvia J. Kim
                                                  Amy E. Beverlin | Kerri H. Sakaue
  27
                                            Attorneys for Defendant
  28                                        OLD DOMINION FREIGHT LINE, INC.
                                                  1
             DEFENDANT’S RESPONSE TO ORDER REGARDING SUPPLEMENTAL BRIEFING [Dkt. #31]
